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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

RONNIE RODRIQUEZ COLEMAN,      )
#213 677,                      )
                               )
    Plaintiff,                 )
                               )
    v.                         )              CASE NO. 2:20-CV-570-RAH-SMD
                               )
MONICA McCOY - WARDEN, et al., )
                               )
    Defendants.                )


                                       ORDER

       On May 4, 2021, the Magistrate Judge filed a Recommendation to which no timely

objection have been filed. (Doc. 18.) Upon an independent review of the record and upon

consideration of the Recommendation, it is hereby

       ORDERED that the Recommendation is ADOPTED, and this case is DISMISSED

without prejudice for Plaintiff’s failures to comply with the Order of the Court and to

prosecute this action.

       A separate Final Judgment will be entered.

       DONE, on this the 25th day of May, 2021.


                                         /s/ R. Austin Huffaker, Jr.
                                  R. AUSTIN HUFFAKER, JR.
                                  UNITED STATES DISTRICT JUDGE
